Case 17-22775-GLT           Doc 49
                                50  Filed 12/15/17
                                          12/18/17 Entered 12/15/17
                                                             12/18/17 11:56:30
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                                   Document      Page 1 of 1
                                                                           FILED
                                                                           12/18/17 2:31 pm
                          IN THE UNITED STATES BANKRUPTCY COURT            CLERK
                         FOR THE WESTERN DISTRICT OF PENNSYLVANIA          U.S. BANKRUPTCY
                                                                           COURT - :'3$
In Re:                                     : Bankruptcy No. 17-22775-GLT
                                           :
RONALD L MCFEATERS                         : Chapter 7
                                           :
                          Debtor           :
                                           : Related Dkt. No.48 and 49
   Natalie Lutz Cardiello, Trustee         :
     Movant                                :
                                           :
     v.                                    :
                                           :
   No Respondent                           :


                                     NOTICE OF WITHDRAWAL


To: Michael R. Rhodes, Clerk of Courts

      PLEASE TAKE NOTICE that the Trustee withdraws her Motion to Continue Hearing filed on
December 14, 2017.

Dated: December 15, 2017                         Respectfully submitted,



                                                 /s/Natalie Lutz Cardiello
                                                 Natalie Lutz Cardiello, Trustee
                                                 107 Huron Drive
                                                 Carnegie, PA 15106
                                                 (412) 276-4043
                                                 ncardiello@comcast.net
                                                 PA ID# 51296


 SO ORDERED this 18th day of December 2017




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 GREGORY
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  NITED STATES BANKRUPTCY COURT     COUR
